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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.:
SUSAN CONWAY,

Plaintiff,
V.

NCL (BAHAMAS) LTD., a Bermuda Corporation
d/b/a NORWEGIAN CRUISE LINES (NCL),

Defendant.
/

 

COMPLAINT
COMES NOW, Plaintiff, SUSAN CONWAY, by and through her undersigned attorney, and
files her Complaint against Defendant, NCL (BAHAMAS) LTD., a Bermuda Corporation d/b/a
NORWEGIAN CRUISE LINES (NCL), and states:

1. This is an action for damages that exceed $75,000.00, exclusive of attorney's fees and
costs.

2. At all material times, Plaintiff was a citizen of United States, and a resident of Wantagh,
Nassau County, New York.

3. At all material times, Defendant was a foreign corporation licensed to conduct business in
the State of Florida, and did conduct business in Florida as NORWEGIAN CRUISE
LINES (NCL), providing cruise ship voyages to paying passengers, and owned and/or
operated a cruise ship known as the M/V Norwegian Escape.

4. Jurisdiction is proper in this Court under 28 U.S.C. 1333, which provides original
jurisdiction to United States District Courts exclusive of state courts of “any civil case of

admiralty or maritime jurisdiction, saving to suitors in all cases all other remedies to
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which they may be entitled”, and pursuant to Article II, Section 2 of the U.S.

Constitution.

. Venue is proper in the Southern District of Florida in that Defendant’s principal place of

business is in Miami, Florida, and this action is governed by a forum selection clause in
Defendant’s ticket contract which provides that all suits be brought in Federal Court in

Miami, Florida.

. Defendant has agreed, in writing, that jurisdiction and venue are proper in the Southern

District of Florida under the terms of the cruise ticket contract tendered by Defendant to

Plaintiff. A copy of said cruise ticket is in the possession of NORWEGIAN.

. On or about August 5, 2018, Plaintiff, SUSAN CONWAY, was injured aboard

Defendant’s vessel during a cruise which originated in, and returned to, New York, New

York.

. At that time and place, Defendant had a duty to paying passengers, including Plaintiff,

SUSAN CONWAY, to maintain their premises in a reasonably safe manner under the
circumstances, including keeping their flooring, decks and walking surfaces maintained
and free of any conditions that would present a hazard and risk of injury not reasonably
known to their passengers, but which Defendant knew or should have known existed in
the exercise of reasonable care; Defendant’s second duty to its’ passengers and Plaintiff
was to warn of dangerous conditions which Defendant, NORWEGIAN, knew or should
have known in the exercise of reasonable caution.

On or about August 5, 2018, Defendant breached both of its’ duties to Plaintiff, SUSAN
CONWAY, by failing to use reasonable care under the circumstances in negligently
failing to inspect and maintain the flooring, decks, and walking surfaces on the M/V

Norwegian Escape, and by failing to give warning, directly or indirectly, to Plaintiff of
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the dangerous condition of their flooring, decks, and walking surfaces before Plaintiff
fell.

As Plaintiff was on her way to her table in the Garden Café on Deck 16, aboard the M/V
Norwegian Escape, she tripped over luggage that was blocking the walkway.

As a proximate result of Defendant’s negligent failure to maintain the flooring, decks and
walking surfaces, and failure to warn Plaintiff of the dangerous condition, on or about
August 5, 2018, Plaintiff, SUSAN CONWAY, severely injured her body.

The aforementioned negligence of Defendant created a hazardous condition to their
passengers and to Plaintiff, and was known to Defendant or had existed for a sufficient
length of time so that Defendant should have known of it, or that such trips and falls
occur with such frequency on Defendant’s flooring, decks and walking surfaces, and
upon other similar flooring, decks and walking surfaces of Norwegian vessels similarly

situated, so as to provide prior notice to Norwegian.

. As a direct and proximate result of Defendant’s negligence and Plaintiff's fall, Plaintiff,

SUSAN CONWAY, suffered physical and mental pain and anguish, disability, loss of
capacity for the enjoyment of life, loss of earnings, loss of ability to earn in the future,
and medical expenses. Said losses are either permanent or continuing in nature, and

Plaintiff will suffer these in the future.

WHEREFORE, Plaintiff, SUSAN CONWAY, demands judgment for the stated damages,

interest and costs against Defendant, NCL (BAHAMAS) LTD., a Bermuda Corporation d/b/a

NORWEGIAN CRUISE LINES (NCL), a trial by jury, and any such other relief to which

Plaintiff may be justly entitled.
 

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Respectfully submitted this 1st day of pg , 2019:

 

 

 

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